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NOTICE OF NONCOMPLIANCE

  
     

 

 

 

see L.R. 133`(a) & (d)(3) '
FILED IN PAPER '
Uniced States District Court
`Eastern District of Callfomia `N[]V' 1_ h 2015
MS§'¢?SR?YTBL°§A€?F‘YHMA
m ' __-
UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF CALIFORNIA
DIMAS O'CAMPO, , NO: 2:16-CV-01768-IUM-CMK
Plaintiff(s) v
STIPULATION TO ELECT REFERR*\L
v. OF ACTION TO VOLUNTARY DISPUTE
RESOLUTION PROGRAM (VDRP)
BEARFQOT. INC., ET A.L., PURSUANT 'I`O LOCAL RULE 271
Defendant(s)
Pursuant to Local Rule 271, the parties hereby agree to submit the above-entitled action to
the Voluntary Dispute Resolution Program.

DATED: JULY 28, 2016

 

Name:
Attomey for Plaintif f [s)

Name:
Attomey for Defendant[s)

 

 

